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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     *
 vs.                                               *   Case No.: 21-15-APM
 THOMAS EDWARD CALDWELL                            *
         *      *       *      *       *       *       *      *       *      *       *

                                              ORDER
         Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of
 Release, it is hereby ordered by the United States District Court for the District of Columbia that
 the Motion is granted and that the Defendant shall be permitted to accompany his wife, Sharon
 Caldwell, to the 167th Airlift Wing (Air Force Reserve) in Martinsburg, WV on December 21,
 2023, as approved by Pretrial Services, for the purpose of renewing Mrs. Caldwell’s military ID
 card.




         __________________                    ____________________________________
         Date                                  Honorable Amit P. Mehta
                                               United States District Court
